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           ORDERED in the Southern District of Florida on May 14, 2024.



                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                                    Laurel M. Isicoff, Judge
                                             United States Bankruptcy Court
___________________________________________________________________________
           In re:

           Hector Roque,                                                        Case No. 24-11751-LMI
                                                                                Chapter 13
                    Debtor.
                                                       /

             ORDER DENYING MOTION FOR RELIEF FROM AUTOMATIC STAY [DOC. 13]

                    THIS CAUSE came before the Court on the Chapter 13 Consent Calendar on May 7, 2024

           on the Motion for Relief From Automatic Stay filed by secured creditor, Matrix Financial Services

           Corporation (“Movant”), on March 21, 2024 [Doc. 13], and the Court having reviewed the record

           and otherwise being duly advised in the premises, it is hereby:

                     ORDERED AND ADJUDGED that:

                1. Movant’s Motion for Relief From Automatic Stay is DENIED, without prejudice.


           Benjamin Ladouceur, Esq. is directed to serve a copy of this order on interested parties who do
           not receive service by CM/ECF and file a Proof of Service within 3 days of entry of the order.




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